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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
                 Plaintiff,               )
09                                        )             Case No. 06-620M
           v.                             )
10                                        )
     DANIEL CASTILLO,                     )             DETENTION ORDER
11                                        )
                 Defendant.               )
12   ____________________________________ )

13 Offense charged:

14          Possession of Methamphetamine With Intent to Distribute in violation of 21 U.S.C. §§

15 841(a)(1) and 841(b)(1)(A).

16 Date of Detention Hearing: November 22, 2006.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

19         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

21 is a flight risk and a danger to the community based on the nature of the pending charges.

22 Application of the presumption is appropriate in this case.

23          (2)     Defendant has stipulated to detention, but has reserved the right to contest his

24 continued detention if there are new circumstances that should arise.

25          (3)     There are no conditions or combination of conditions other than detention will

26 reasonably assure the appearance of the defendant as required or address the issues of safety to

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 the community.

02         IT IS THEREFORE ORDERED:

03         (1)   Defendant shall be detained pending trial and committed to the custody of the

04               Attorney General for confinement in a correction facility separate, to the extent

05               practicable, from persons awaiting or serving sentences or being held in custody

06               pending appeal;

07         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

08               counsel;

09         (3)   On order of a court of the United States or on request of an attorney for the

10               government, the person in charge of the corrections facility in which defendant

11               is confined shall deliver the defendant to a United States Marshal for the purpose

12               of an appearance in connection with a court proceeding; and

13         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

14               counsel for the defendant, to the United States Marshal, and to the United States

15               Pretrial Services Officer.

16
                 DATED this 22nd day of November, 2006.
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                                                       A
                                                       JAMES P. DONOHUE
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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